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 1 Aaron S. Jacobs (Cal. Bar No. 214953)
   ajacobs@princelobel.com
 2 James J. Foster
   jfoster@princelobel.com
 3 Matthew Vella (Cal. Bar No. 314548)
   mvella@princelobel.com
 4 PRINCE LOBEL TYE LLP
   One International Place, Suite 3700
 5 Boston, MA 02110
   Tel: (617) 456-8000
 6
   Attorneys for Plaintiff
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 8                                 UNITED STATES DISTRICT COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10    UNILOC 2017 LLC                                      Civil Action No. 8:19-cv-01149
11            Plaintiff,
                                                           COMPLAINT FOR PATENT
12    v.                                                   INFRINGEMENT
13    H&R BLOCK, INC. and
      HRB DIGITAL LLC,                                     JURY TRIAL DEMANDED
14
              Defendant.
15

16           Plaintiff, Uniloc 2017 LLC (“Uniloc”), alleges as follows against defendants, H & R Block,

17 Inc. and HRB Digital LLC (together “HRB”):

18                                             THE PARTIES

19           1.      Uniloc is a Delaware limited liability company.

20           2.      H & R Block, Inc. is a Missouri corporation having numerous regular and

21 established places of business within this judicial district. See www.hrblock.com/tax-offices/.

22           3.      HRB Digital LLC is a Delaware corporation that distributes tax preparation

23 software to, and for use by, taxpayers within this judicial district.

24                                            JURISDICTION

25           4.      Uniloc brings this action for patent infringement under the patent laws of the United

26 States, 35 U.S.C. § 271, et seq. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§
27 1331 and 1338(a).

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 1                                              COUNT I

 2                        (INFRINGEMENT OF U.S. PATENT NO. 6,324,578)

 3          5.     Uniloc incorporates paragraphs 1-4 above, by reference.

 4          6.     Uniloc is the owner, by assignment, of U.S. Patent No. 6,324,578 (“the ’578

 5 Patent”), entitled METHODS, SYSTEMS AND COMPUTER PROGRAM PRODUCTS FOR

 6 MANAGEMENT OF CONFIGURABLE APPLICATION PROGRAMS ON A NETWORK, that

 7 issued on November 27, 2001 on an application filed on December 14, 1998. A copy of the ’578

 8 Patent is attached as Exhibit A.

 9          7.     HRB maintains a network of high-security, access-controlled data centers that host

10 a platform through which it offers and provides products and services such as the Free, Deluxe and

11 Premium versions of Online Tax Filing (“HRB platform” or “platform”):

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            8.     A HRB customer launches the Online Tax Filing application downloaded from
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24 HRB by creating an account and logging in:

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17          9.      When an Online Tax Filing account has successfully been opened with HRB, the
18 user is authorized to proceed with the application.
19          10.     When a user logs in to HRB via the Sign In launcher, the user interface provides a
20 plurality of options to select from, such as preparing Federal or State returns:

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10          11.     Once granted access to the HRB platform, a user is presented with a plurality of
11 user-configurable preferences, such as account settings, update password, and update security

12 questions:

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            12.     The HRB platform provides a plurality of administrator-configurable preferences
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     such as password requirements, privacy provisions, and the length of time data is stored:
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            13.     HRB stores user information provided via the HRB platform to perform operations
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     requested by customers, such as calculating tax payments and refunds.
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            14.     A user may request information from HRB, such as prior taxes paid, and HRB will
23
     respond to such a request by providing the user’s prior tax information.
24
            15.     HRB infringed at least claim 1 of the ’578 Patent by making, using, offering for
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     sale, and/or selling the HRB platform, which software and associated architecture allow for
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     installing an application program having configurable preferences and authorized users on a server
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     coupled to a network, distributing an application launcher program to a client, obtaining a user set
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                                                       5
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 1 of the configurable preferences, obtaining an administrator set of configurable preferences, and

 2 executing the application program using the user and administrator sets of configurable preferences

 3 responsive to a request from a user as described above.

 4          16.    HRB also infringed at least claim 1 of the ’578 Patent by actively inducing the use

 5 of the HRB platform. HRB’s customers who used the platform in accordance with HRB’s

 6 instructions infringed the ’578 Patent, as described above. HRB intentionally instructed its

 7 customers to infringe, with knowledge they were infringing, by providing instructions on how to

 8 use the platform.

 9          17.    HRB also infringed at least claim 1 of the ’578 Patent by offering to sell, selling,

10 and/or otherwise commercially offering use of its platform, which was used to infringe the ’578

11 Patent and constituted a material part of the invention. HRB knew portions of the software

12 contained in the accused platform were especially written solely for use to implement what HRB

13 knew was infringement of the ’578 Patent. HRB knew these portions had no use, other than for

14 infringement.

15          18.    HRB has been on notice of the ’578 Patent since, at the latest, the service of the

16 complaint upon it on June 8, 2017 in the previous action between Uniloc and H & R Block in the

17 Eastern District of Texas. HRB knew and intended (since receiving that notice) that its continued

18 actions actively induced and contributed to infringement of the ’578 Patent.
19          19.    HRB may have infringed the ’578 Patent through other software and architecture

20 utilizing the same or reasonably similar functionality, including other versions of the HRB

21 platform.

22          20.    Uniloc has been damaged by HRB’s infringement of the ’578 Patent.

23                                               COUNT II

24                        (INFRINGEMENT OF U.S. PATENT NO. 7,069,293)

25          21.    Uniloc incorporates herein by reference paragraphs 1-20 above.

26          22.    Uniloc Luxembourg is the owner, by assignment, of U.S. Patent No. 7,069,293
27 (“the ’293 Patent”), entitled METHODS, SYSTEMS AND COMPUTER PROGRAM

28 PRODUCTS FOR DISTRIBUTION OF APPLICATION PROGRAMS TO A TARGET
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 1 STATION ON A NETWORK, which issued on June 27, 2006, claiming priority to an application

 2 filed on December 14, 1998. A copy of the ’293 Patent is attached as Exhibit B.

 3          23.     HRB uses Apache on-demand servers in the United States to host its services:

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14          24.     HRB infringed, and continues to infringe, at least claim 1 of the ’293 Patent by

15 making, using, importing, offering for sale, and/or selling the HRB platform, which software and

16 associated architecture allow for providing an application program for distribution to a network

17 server, specifying source and target directories for the program to be distributed, preparing a file

18 packet associated with the program including a segment configured to initiate registration
19 operations for the application program at a target on-demand server, and distributing the file packet

20 to the target on-demand server to make the program available for use by a client user as described

21 above.

22          25.     HRB has been on notice of the ’293 Patent since, at the latest, the service of the

23 complaint upon it on June 8, 2017 in the previous action between Uniloc and HRB in the Eastern

24 District of Texas. HRB knew and intended (since receiving that notice) that its continued actions

25 infringed the ’293 Patent.

26          26.     HRB may have infringed the ’293 Patent through other software and architecture
27 utilizing the same or reasonably similar functionality, including other versions of the HRB

28 platform.
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 1         27.    Uniloc has been damaged by HRB’s infringement of the ’293 Patent.

 2                                      PRAYER FOR RELIEF

 3         Uniloc requests that the Court enter judgment against HRB as follows:

 4         (A)    finding that HRB has infringed the ’578 Patent and the ’293 Patent;

 5         (B)    awarding Uniloc its damages suffered as a result of HRB’s infringement of the ’578

 6 Patent and the ’293 Patent;

 7         (C)    awarding Uniloc its costs, attorneys’ fees, expenses, and interest; and

 8         (D)    granting Uniloc such further relief as the Court may deem proper.

 9                                   DEMAND FOR JURY TRIAL

10         Uniloc hereby demands trial by jury on all issues so triable pursuant to Fed. R. Civ. P. 38.

11

12 Dated: June 10, 2019                          Respectfully submitted,
13                                               /s/ Aaron S. Jacobs
                                                 Aaron S. Jacobs (Cal. Bar No. 214953)
14                                               ajacobs@princelobel.com
                                                 James J. Foster
15                                               jfoster@princelobel.com
                                                 Matthew Vella (Cal. Bar No. 314548)
16                                               mvella@princelobel.com
                                                 PRINCE LOBEL TYE LLP
17                                               One International Place, Suite 3700
                                                 Boston, MA 02110
18                                               Tel: (617) 456-8000
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